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                         IN THE UNITED STATES
                                  MIDDLE DISTRICT OE ALABAMA
                                       EASTERN DIV(b$1JL I 14 4       I: 55
BRITTANY BAKER,	                                  :)DEBRA       fACt{ETT cc
                                                      'J-S-	     TRICTCOIUR
                                                       MIDDLE
           Plaintiff,	                               ) CASE _____________
     	
V.                                                   )
                                                     ) JURY TRIAL REQUESTED
AUBURN BANK,	                                        )
                          	                          )
           Defendant                                 )

                                           COMPLAINT

           COMES NOW the Plaintiff, Brittany Baker,       pm Se,    and hereby doth complain

against the above-named Defendant, as set forth herein-below.

                                   I. JURISDICTION & VENUE

           1.      Plaintiff Brittany Baker files this Complaint, institutes these proceedings,

and invokes the jurisdiction of this Court under and by virtue of 28 U.S.C. § 1331 and

1334 (a)(4), as an action arising under the Act of Congress known as Title VII of the

Civil Rights Act of 1964, (42 U.S.C. § 2000(e) et seq.), as amended by the 1991 Civil

Rights Act, 42 U.S.C. § 1981(a); and 42 U.S.C. § 1201, et seq., to obtain equitable

relief, the costs of suit, including other fees, and damages suffered by the Plaintiff, due

to the Defendant's discrimination against Plaintiff.

         2.        Plaintiff Baker filed a charge of race discrimination with the EEOC in

Birmingham on August 24, 2016. Plaintiff received a right-to-sue on May 30, 2017,

giving Plaintiff the right to pursue this claim in federal court for 90 days after said

receipt.

         3.       Venue is proper in the Eastern Division of the Middle District of Alabama,

since the alleged discriminating action of Defendant occurred in Lee County, Alabama.



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                                       II. PARTIES

       4.     The named Plaintiff, Brittany Baker (hereinafter "Plaintiff" or "Ms. Baker"),

is a citizen of the United States and a resident of Macon County, Alabama. Plaintiff is

over the age of nineteen years.

       5.     The Defendant, Auburn Bank (hereinafter "Defendant" or "Auburn Bank"),

does business and is located in Lee County, Alabama. At all times relevant to this

complaint, Plaintiff was employed, and continues to be employed, by Defendant.

                              Ill. STATEMENT OF FACTS

       6.     Ms. Baker is a thirty-one year female of African-American descent. Ms.

Baker began working at Auburn Bank on or about April 3, 2014, as a Bookkeeping

Clerk. On or about March 30, 2015, Ms. Baker was promoted to Assistant Bookkeeping

Manager.

       7.     Ms. Baker avers several racial manifestations made her working

conditions at Auburn Bank pervasively hostile. Specifically, Linda Torbert, a Caucasian

female and Auburn Bank employee, routinely mistreated Ms. Baker because of her

African-American race, frequently exhibiting a racial consciousness towards Ms. Baker.

       8.     Ms. Torbert in general spoke badly about African-Americans, singling out

African-Americans by using a racial descriptive term when she said "black (so and so)".

On one occasion, Ms. Torbert referred to an African-American customer as a "black

bitch" after Ms. Torbert had hung up on a telephone conversation With said customer.

In addition, Ms. Torbert has referred to another customer as a "black heifer."




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       9.	    On one occasion, Ms. Torbert told Ms. Baker "you sound ghetto." Further,

Ms. Torbert threatened to quit her job if Ms. Baker were promoted to a managerial level

position.

       10.    Ms. Baker avers that Ms. Torbert made false complaints against her to

Ms. Pam Fuller, a Caucasian female, and to Auburn Bank's Vice President of

Operations.

       11.    Ms. Baker further avers that Ms. Fuller appeared to listen only to certain

Caucasian employees who would express negative views about Ms. Baker, and never

listened to more the positive opinions of Ms. Baker expressed by other employees.

       12.    Ms. Baker avers that all of Auburn Bank's senior managers were

Caucasian.

       13.    As a result of the racial animosity practiced towards her, Ms. Baker was

demoted from her position as Assistant Bookkeeping Manager down to Bookkeeping

Clerk. Ms. Baker further avers that she was blindsided by this demotion because she

was never informed that she was "under investigation" by Auburn Bank management.

Notwithstanding the demotion, Ms. Baker continued to perform the job requirements of

both the Assistant Bookkeeping Manager and the Bookkeeping Manager.

       14.    Ms. Baker also avers that the racial animosity and hostile environment

caused her to experience stomach pains, gastroenteritis, anxiety and depression. In

addition, this pervasively cold and hostile working environment forced Ms. Baker to

resign from her position at Auburn Bank, on or about September 8, 2016, in what Ms.

Baker considered to be a constructive discharge.




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        15.	   As a result of Ms. Baker's constructive discharge, she has lost income,

and suffered severe mental anguish.

                       IV. PLAINTIFF'S FIRST CAUSE OF ACTION
                                RACE DISCRIMINATION

        16.    Plaintiff repeats, realleges and incorporates by reference paragraphs I

through 15 above, the same as if more fully set forth herein, and further avers that the

Defendant's actions toward her violated her right to be free of racial discrimination in

employment, in violation of Title VII of the Civil Rights Act of 1964, as amended, (42

U.S.C. § 2000(e), et seq.), and the 1991 Civil Rights Act, and 42 U.S.C. 1981 and

1981 (a).

        17.    As a proximate cause of Defendant's afore-described actions in

discriminating against Plaintiff, due to her race, Plaintiff was injured and damaged, as

set forth in paragraphs I through 15 above and by virtue of her constructive discharge

lost income and other valuable benefits of employment. In addition, Plaintiff has

suffered considerable mental and emotional anguish.

       18.     Plaintiff avers that she has pursued and exhausted her administrative

remedies.

                                         PRAYER FOR RELIEF

       WHEREFORE, PREMISES CONSIDERED, Plaintiff Baker respectfully prays that

this Court grant the following relief:

       a)	     Judgment declaring that the Defendant discriminated against Plaintiff, on

               the basis of Plaintiffs race;




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        b)	      An order granting Plaintiff compensation for rights to which Plaintiff would

                 have been entitled, had Plaintiff not been the victim of race discrimination,

                 effective from the date of final judgment;

        c)       An award of compensatory damages, including for mental anguish, to

                 which Plaintiff may be entitled;

        d)       An award of punitive damages, due to the egregious nature of the race

                 discrimination practiced against Plaintiff so openly tolerated, ratified and

                 acquiesced in by the Defendant;

        e)       An award of all court costs and fees, including those incurred for seeking

                 administrative relief; and

       f)        Such further, other and different relief as the Court may deem appropriate

                 and necessary.

                       V. PLAINTIFF'S SECOND CAUSE OF ACTION

               RACE-BASED COLD AND HOSTILE WORKING ENVIRONMENT

        19.      Plaintiff repeats, realleges and incorporates by reference paragraphs 1 -

15 above, the same as if more fully set forth herein, and further avers that the

Defendant's actions toward her violated her right to be free of a race-based cold and

hoStile working environment in employment, in violation of Title VII of the Civil Rights

Act of 1964, as amended, (42 U.S.C. §2000(e),        et   Seq.), as amended by the 1991 Civil

Rights Act:.

       20.      As specifics for the race-based cold and hostile work environment that

Plaintiff suffered, Plaintiff cites the facts set forth particularly in the statement of facts

above, paragraphs 1 -15 above.




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       21.	   As a proximate cause of Defendant's afore-described actions in

discriminating against Plaintiff, due to her race, Plaintiff was injured and damaged, as

set forth in paragraphs I through 15 above and by virtue of her constructive discharge

lost income and other valuable benefits of employment. In addition, Plaintiff has

suffered considerable mental and emotional anguish.

                                    PRAYER FOR RELIEF

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that this

Court grant the following relief:

       a)     A judgment declaring that the Plaintiff was subjected to an egregious race-

              based hostile work environment;

       b)     An award of compensatory damages, including for mental anguish, to

              which Plaintiff may be entitled;

       c)     An award of punitive damages due to the egregiousness of Defendant's

              wrongdoing;

       d)     An award of all court costs and fees, including those incurred for seeking

              administrative relief;

       e)     Such further, other and different relief as the Court may deem appropriate

              and necessary.

       Respectfully submitted this          day of July, 2017.
                                       4_
                                        1
                                            Brittany Baker Plaintiff



                                            Brittany BakW
                                            101 Lynn Drive, Apt. C.
                                            Tuskegee, AL 36083
                                            (334) 339-2451



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                                      JURY DEMAND

      Plaintiff hereby requests trial by jury on all issues So triable.




                                           BrianyBake,


NOTE FOR SERVICE:	                                              Al

Please serve the following Defendant via    cern. iedall at the address listed below:
Auburn Bank
100 N. Gay Street
Auburn, Alabama 36830
